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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF CONNECTICUT
________________________________________________
                                                 |
RUSS MCCULLOUGH, et al.,                         |
                                                 |
      Plaintiffs,                                |
                                                 |
v.                                               | Civil Action No.
                                                 | 3:15-cv-01074
WORLD WRESTLING ENTERTAINMENT, INC.,             | Lead Case
                                                 |
      Defendant.                                 |
________________________________________________|
                                                 |
EVAN SINGLETON and VITO LOGRASSO,                |
                                                 |
      Plaintiffs,                                |
                                                 |
v.                                               | Civil Action No.
                                                 | 3:15-cv-00425
WORLD WRESTLING ENTERTAINMENT, INC.,             |
                                                 |
      Defendant.                                 |
________________________________________________|
                                                 |
JOSEPH M. LAURINAITIS, et al.,                   |
                                                 |
v.                                               | Civil Action No.
                                                 | 3:16-cv-01209
WORLD WRESTLING ENTERTAINMENT, INC., et al., |     Consolidated Case
                                                 |
      Defendants.                                |
________________________________________________|


    PLAINTIFF WRESTLERS AND THEIR COUNSEL’S MOTION TO STRIKE
    DEFENDANTS’ ATTORNEYS’ JERRY S. MCDEVITT’S AND JEFFREY P.
      MUELLER’S SUPPLEMENTAL DECLARATIONS TO DEFENDANTS’
        APPLICATIONS FOR ATTORNEYS’ FEES, DKT. NOS. 449-450.




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        Plaintiff Wrestlers and Their Counsel in the above-captioned matters hereby move to strike

Defendants’ Attorneys’ Jerry S. McDevitt’s and Jeffrey P. Mueller’s Supplemental Declarations

to Defendants’ Applications for Attorneys’ Fees, Dkt. Nos. 449-450, as these documents

improperly assert legal arguments and factual averments, voice irrelevant opinions on the merits

and history of the WWE Litigation, and were not authorized by this Court despite offers to

supplement the record during the March 29, 2021 Hearing. In support of this Motion, Plaintiff

Wrestlers and Their Counsel submit the following:

I.      ATTORNEY MCDEVITT’S SUPPLEMENTAL DECLARATION IS IMPROPER TO
        ADVANCE LEGAL ARGUMENTS AND FACTUAL AVERMENTS AND MUST BE
        STRICKEN

        1.       Attorney McDevitt spends paragraphs 2 – 5 of his Supplemental Declaration1

advancing the legal position that the Forum Rule should not apply to WWE’s Counsel’s

Applications for Fees. These arguments stem from Judge Richardson’s questioning during the

March 29, 2021 Hearing where WWE’s Counsel failed to adequately address why the Forum Rule

should not apply in the District of Connecticut.

        2.       Legal arguments must be set forth in a memorandum of law, not in an attorney

affirmation. See Local Civ. R. 7(a)(1) (stating “any motion involving disputed issues of law shall

be accompanied by a memorandum of law”); Curran v. Aetna Life Ins. Co., 2016 U.S. Dist. LEXIS

90383, *27-28 (SDNY July 11, 2016) (recognizing “declarations of counsel are generally… [used]

not to advance factual averments or legal arguments”) (internal citations omitted).

        3.       This is a poorly veiled attempt by Attorney McDevitt to supplement the record with

novel arguments in a plainly improper document. “This type of declaration is improper and



1
 Although titled “Supplemental Declaration”, this “Supplement” refers to the initial Application for Fees, Dkt. No.
386, filed October 4, 2018, two and a half years ago and where Attorney McDevitt never provided an Affidavit in
support of those Fees.

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inadmissible.” Altman v. Inc. Vill. of Lynbrook, 2020 U.S. Dist. LEXIS 63503, *24 (EDNY March

31, 2020).

        4.      As a result, the entire Declaration should be stricken and disregarded, or in the

alternative, paragraphs 2 – 5 should be stricken and disregarded. Curran v. Aetna Life Ins. Co.,

2016 U.S. Dist. LEXIS 90383, *27-28 (SDNY July 11, 2016) (holding that the court will not

consider any legal arguments contained in attorney declarations because inclusion of legal

arguments in declarations is improper).

II.     THE FORUM RULE APPLIES TO K&L GATES’ FEES AND THE REMAINDER OF
        ATTORNEY MCDEVITT’S SUPPLEMENTAL DECLARATION FAILS TO
        ADDRESS THE REASONABLENESS OF HIS FEES

        5.      Should the Court consider Attorney McDevitt’s improper arguments, Plaintiff

Wrestlers and Their Counsel respectfully stand on their previous filings that the Forum Rule

applies to K&L Gates’ fees and the fees sought are patently unreasonable in this District. See Opp.

to Applications for Fees, Dkt. Nos. 378 and 386, and Opp. to Supp. Fees, Dkt. No. 447.

Nevertheless, the novel arguments and newly asserted cases are briefly addressed to provide clarity

to Attorney McDevitt’s mischaracterizations of Second Circuit precedent.

        6.      Rule 11 is not a compensation device. Brandt v. Schal Assocs., 131 FRD 512, 518

(ND Ill. 1990) (noting Rule 11 and § 1927 are sanctions rules, not compensation devices). Judge

Bryant specifically limited the award to fees necessary for the successful Motions for Sanctions.

See Dkt. Nos. 376 and 383. Attorney McDevitt’s own referenced case, On Time Aviation v.

Bombardier Capital, Inc., 354 Fed. Appx. 448 (2d Cir. 2009), held:

        Toward this object, the district court only considered the hours defense counsel
        spent answering plaintiff’s attorney’s own sanctions motion and used rates
        significantly lower than those actually charged by defendant’s attorneys. We do not
        identify any abuse of discretion in the district court’s award in this case.

Id., at 452 (internal citations omitted).

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        7.       By specifically limiting the sanction amount to those fees necessary to accomplish

the Motions for Sanctions, Judge Bryant omitted fees for substantive research and motion practice.

Attorney McDevitt’s recounting of both his curriculum vitae and his version of the WWE

Litigation fails to address whether his hourly rate is reasonable for garden variety Motions for

Sanctions and a motion to compel.

        8.       This District specifically separates substantive elements from Rule 11 sanctions.

Bishop v. City of Suffolk, 2019 U.S. Dist. LEXIS 149800, *28 (EDNY Aug. 31, 2019) (““Thus,

‘the imposition of sanctions is an issue collateral to and independent from the underlying case,’ as

sanctions decisions are ‘not a judgment on the merits of an action.’””), quoting Schalifr Nance &

Co., Inc. v. Estate of Warhol, 194 F.3d 323, 333, quoting Cooter & Gell v. Hartmarx, 496 U.S.

384, 395-96. WWE’s Counsel’s recitations are not relevant here.

        9.       Attorney McDevitt’s long history with the McMahons is not in question. Nor is his

strident position defending them. “[A] firmly held conviction of the correctness of one’s position

does not authorize collateral attack on an opponent’s legal arguments by resort to Rule 11”. Bailey

v. Interbay Funding, LLC, 2020 U.S. Dist. LEXIS 108219, *20 (June 19, 2020), quoting On Time

Aviation, Inc. v. Bombardier Capital, Inc., 354 Fed. Appx. 448 (2d Cir. 2009).

        10.      Although it appears Attorney McDevitt seeks an enhancement to the lodestar

calculus, a “fee applicant seeking an enhancement must produce ‘specific evidence’ that supports

the award.” Perdue v. Kenny A., 559 U.S. 542, 553 (2010). The argumentative detailing of his

expertise on the merits and his self-proclaimed knowledge of CTE and relationships with Drs.

Omalu and Maroon have no bearing on the issue here. See Ceglia v. Zuckerberg, 2012 U.S. Dist.

LEXIS 18438 (WDNY Feb. 14, 2012).2


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  It is unclear whether WWE’s Counsel intends to seek supplemental fees for these improper filings as they previously
filed Supplemental Applications for Fees hoping to receive over $39,000 for a status conference and a one-day

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        11.      This Circuit allows discretion in limiting fees to a reasonable number. Id., citing

Caisse Nationale de Credit Agricole-CNCA, N.Y. Branch v. Valcorp., Inc., 28 F.3d at 266

(recognizing court discretion in determining reasonable fee under Rule 11); see also Yu Sen Chen

v. MG Wholesale Distrib., 2018 U.S. Dist. LEXIS 76259, *4 (EDNY May 4, 2018) (holding “[t]he

case law under Rule 11 also reflects the exercise of [judicial] discretion to award only that portion

of a defendant’s attorney’s fee thought reasonable to serve the sanctioning purpose of the Rule.”),

quoting Eastway Constr. Corp. v. City of New York, 821 F.2d 121, 123 (2d Cir. 1987); referencing

On Time Aviation, Inc. v. Bombardier Capital, Inc., 354 Fed. Appx. 4487, 452 (2d Cir. 2009).

        12.      Contrary to Attorney McDevitt’s position, the subject Motions were “garden

variety”, should not have involved over 600 hours of legal work, and certainly do not justify a

$950 hourly rate.       Regardless, argumentative factual averments are improper for attorney

declarations. Altman v. Inc. Vill. of Lynbrook, 2020 U.S. Dist. LEXIS 63503, *24 (EDNY March

31, 2020). Attorney McDevitt’s Supplemental Declaration should be stricken and disregarded.

        13.      Plaintiff Wrestlers and Their Counsel respectfully submit this discussion should

have already concluded as the Court heard both sides argument and considered the matter closed

and ripe for determination. As such, the Court should utilize the Forum Rule and significantly

lower K&L Gates’ unreasonable hourly rates. See In re Big R Food Warehouses v. Local 338

RWDSU, 896 F. Supp. 292, 297 (EDNY 1995) (noting a “court is allowed to reduce a request for

attorney’s fees to an amount it considers reasonable”).




settlement conference. This would be improper and WWE’s Counsel’s continued expansion to litigate these matters
should not be rewarded. See Dkt. No. 447; Lloyd v. Schlag, 884 F.2d 409, 414-15 (9th Cir. July 24, 1989).

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III.   ATTORNEY MUELLER’S SUPPLEMENTAL DECLARATION ASSERTS NEW,
       CONTRADICTORY FACTS AND FAILS TO PROVIDE EVIDENCE ATTORNEY
       MCDEVITT’S FEES ARE REASONABLE AND SHOULD BE STRICKEN

       14.     Attorney Mueller’s Supplemental Declaration provides no benefit to this Court’s

assessment of K&L Gates’ Applications for Fees. By listing two litigation partners’ hourly rates

without any additional information, Attorney Mueller fails to justify the reasonableness of

Attorney McDevitt’s rates in this matter.

       15.     Absent additional information including what was specifically billed, whether their

work involved appellate filings, and even whether the fees were accepted by the clients, this Court

nor opposing Counsel can properly determine whether these fees are reasonable.

       16.     Although previously swearing $450 is a reasonable rate for Day Pitney partners,

and thus a reasonable rate in the District of Connecticut, this sudden contradiction without

sufficient material facts should not be accepted and Attorney Mueller’s Supplemental Declaration

should be stricken.

       WHEREFORE Plaintiff Wrestlers and Their Counsel respectfully move this Court to strike

Attorneys Jerry S. McDevitt’s and Jeffrey P. Mueller’s Supplemental Declarations, Dkt. Nos. 449-

450.

Dated: April 30, 2021.



                                                     Respectfully Submitted,

                                                     /s/ Konstantine W. Kyros
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                             CERTIFICATE OF COMPLIANCE

        I hereby certify that on April 30, 2021, a copy of the foregoing was served via this Court’s
electronic case filing system.

                                                     /s/ Konstantine Kyros
                                                     Konstantine W. Kyros. Esq.




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